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                                 No. 23-15285

                                     IN THE
                 United States Court of Appeals
                      for the Ninth Circuit

              IN RE GOOGLE PLAY STORE ANTITRUST LITIGATION
                  MARY CARR, ET AL. V. GOOGLE LLC, ET AL.


                         Interlocutory Appeal from the
       United States District Court for the Northern District of California
                       No. 21-md-2981; No. 20-cv-5761
                          District Judge James Donato

             APPELLANTS’ UNOPPOSED MOTION TO
          VOLUNTARILY DISMISS UNDER FEDERAL RULE
               OF APPELLATE PROCEDURE 42(b)

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September 18, 2023


                (Additional Counsel Listed on Signature Page)
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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1(a), Defendants-

Appellants state as follows:

      Google LLC is a subsidiary of XXVI Holdings Inc., which is a subsidiary of

Alphabet Inc., a publicly traded company; no publicly traded company holds more

than 10% of Alphabet Inc.’s stock.

      Google Payment Corp. is a subsidiary of Google LLC. Google LLC is a

subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a publicly

traded company; no publicly traded company holds more than 10% of Alphabet

Inc.’s stock.

      Google Commerce Ltd. is an indirect subsidiary of Google LLC. Google LLC

is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a

publicly traded company; no publicly traded company owns more than 10% of

Alphabet Inc.’s stock.

      Google Ireland Limited is an indirect subsidiary of Google LLC. Google LLC

is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a

publicly traded company; no publicly traded company owns more than 10% of

Alphabet Inc.’s stock.

      Google Asia Pacific Pte. Ltd. is an indirect subsidiary of Google LLC. Google

LLC is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc.,



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a publicly traded company; no publicly traded company owns more than 10% of

Alphabet Inc.’s stock.

                                             /s/ Neal Kumar Katyal
                                             Neal Kumar Katyal




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      This case is an interlocutory appeal of a class certification order. Two weeks

prior to the September 11, 2023, scheduled oral argument in this case, the District

Court issued an order granting Google’s motion to exclude from trial the precise

injury and damages model on which the class certification order was based. ECF

588.1 The District Court also issued a second order at the same time addressing

decertification, in which it stated that it would vacate the class certification order but

lacked jurisdiction to do so because of the pending appeal. ECF 589. Google

therefore requested from this Court a limited remand for the purpose of allowing the

District Court to vacate the certification order. This Court granted Google’s motion

and issued a limited remand. CA9 ECF 123 at 3.

      The District Court has now entered an order formally vacating the class

certification order. Exhibit 1, ECF 604 at 1 (“The order granting certification is

consequently vacated, and the consumer class is decertified.”). Because the District

Court’s decertification order moots this interlocutory appeal of the class

certification, Google has consulted with counsel for Plaintiffs, and the parties agree

to voluntary dismissal of this appeal under Federal Rule of Appellate Procedure

42(b). The parties agree that each side shall bear its own costs and court fees in

connection with this appeal, and all fees due to the Court have been paid.



1Unless otherwise specified, ECF references are to the multidistrict litigation docket,
No. 3:21-md-02981-JD (N.D. Cal.).

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      Google has previously filed a motion to maintain the seal in this Court on

small amounts of material in the Appellees’ response brief and excerpts of record.

CA9 ECF 117. That motion remains pending. Although the appeal itself is moot,

Google’s request to maintain the seal on specific, limited materials filed in this Court

is not. Those highly sensitive, confidential materials should not be made public, and

this Court should thus issue a ruling on Google’s motion to maintain the seal on

those materials. Plaintiffs did not file an opposition to Google’s sealing motion, and

the public’s interest in disclosure of the information involved in Google’s motion is

further diminished now that there no live controversy remains on the merits.2

      Accordingly, Google respectfully seeks the following relief:

      First, Google requests that the Court grant its pending motion to seal certain

information contained in Appellees’ response brief and supplemental excerpts of

record. CA9 ECF 117.

      Second, Google requests that the Court enter an order dismissing this appeal

as provided by Federal Rule of Appellate Procedure 42(b).

                                   CONCLUSION

      For the foregoing reasons, Google respectfully requests that this Court grant

its pending motion to seal and then enter an order dismissing this appeal.



2After this Court’s remand order, the parties announced that they have reached an
agreement in principle to settle this case.

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                                          Respectfully submitted,

September 18, 2023                        /s/ Neal Kumar Katyal

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                     Counsel for Defendants-Appellants




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                            RULE 27-1(2) STATEMENT

      Pursuant to Circuit Rule 27-1(2), Google has conferred with opposing counsel

to determine their position on this motion. Plaintiffs do not oppose the relief

requested in this motion.
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                       CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitations of Federal Rule of

Appellate Procedure 27(d)(2)(A) and 9th Circuit Rule 27-1 because it contains 465

words, excluding the parts of the motion exempted by Federal Rule of Appellate

Procedure 27(a)(2)(B).

      This motion complies with the typeface and typestyle requirements of Federal

Rule of Appellate Procedure 27(d)(1)(E) because it has been prepared in a

proportionally spaced typeface using Microsoft Word for Office 365 in Times New

Roman 14-point font.

                                            /s/ Neal Kumar Katyal
                                            Neal Kumar Katyal
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                         CERTIFICATE OF SERVICE

      I certify that on September 18, 2023, the foregoing was electronically filed

through this Court’s CM/ECF system, which will send a notice of filing to all

registered users.

                                             /s/ Neal Kumar Katyal
                                             Neal Kumar Katyal
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                        EXHIBIT 1
                                         Case:
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                                               3:20-cv-05761-JD     ID: 12793904,
                                                                 Document         DktEntry:
                                                                            457 Filed       125, Page
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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     IN RE GOOGLE PLAY STORE                           MDL Case No. 21-md-02981-JD
                                         ANTITRUST LITIGATION                              Member Case No. 20-cv-05761-JD
                                   8

                                   9                                                       ORDER RE DECERTIFICATION OF
                                                                                           CONSUMER CLASS
                                  10

                                  11

                                  12          In the consumer plaintiffs’ case, In re Google Play Consumer Antitrust Litigation, Case
Northern District of California
 United States District Court




                                  13   No. 20-cv-05761-JD, the Court certified a class under Federal Rule of Civil Procedure 23(b)(3),

                                  14   and denied Google’s motion to exclude Dr. Singer’s testimony under Federal Rule of Evidence

                                  15   702. Dkt. No. 383. This was because the record at the certification stage supported those

                                  16   decisions. See id.

                                  17          That is no longer the case. Based on new developments in the record, the Court has now

                                  18   excluded Dr. Singer’s pass-through formula and his opinions based on the application of that

                                  19   formula in this litigation. See Dkt. No. 588.

                                  20          The same pass-through formula was an essential element of the consumer plaintiffs’

                                  21   argument in support of certification. See Dkt. No. 383. The order granting certification is

                                  22   consequently vacated, and the consumer class is decertified. See City of Los Angeles, Harbor

                                  23   Division v. Santa Monica Baykeeper, 254 F.3d 882, 885 (9th Cir. 2001). The parties’ associated

                                  24   sealing motion, Dkt. No. 324, is terminated as moot.

                                  25          IT IS SO ORDERED.

                                  26   Dated: September 13, 2023

                                  27
                                                                                                   JAMES DONATO
                                  28                                                               United States District Judge
